
Eugene Fenasci, Plaintiff-Respondent, 
againstSybil Shainwald, Defendant-Appellant.



Defendant appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, New York County (Jose A. Padilla, Jr., J.), entered on or about May 28, 2015, after trial, in favor of plaintiff and awarding him damages in the principal sum of $3,900.




Per Curiam.
Judgment (Jose A. Padilla, Jr., J.), entered on or about May 28, 2015, affirmed, without costs.
The record establishes that the trial court applied appropriate rules and principles of substantive law and accomplished "substantial justice" in awarding judgment in plaintiff's favor (CCA 1804, 1807). A fair interpretation of the evidence supports the finding that plaintiff performed various household services requested by defendant or on defendant's behalf, pursuant to their oral agreement and three-year course of conduct, and was entitled to payment for the services rendered. Particularly in the context of small claims cases, the decision of the fact-finding court is entitled to deference where it rests in large measure on considerations relating to the credibility of witnesses (see Williams v Roper, 269 AD2d 125 [2000], lv dismissed 95 NY2d 898 [2000]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: December 30, 2016










